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                     IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF KANSAS


United States of America,

                     Plaintiff,

v.                                                      Case No. 04-20115-13-JWL

Sandra D. Etters,

                     Defendant.


                                          ORDER

       Defendant Sandra Etters and twenty other persons were charged in a superseding

indictment with various drug offenses. She plead guilty to the offense charged and is currently

serving the imposed prison sentence. Ms. Etters filed a Motion to Modify Sentence (“Motion”),

claiming familial and financial hardships have created extraordinary circumstances since her

sentencing, so the Court should modify the terms of her sentence from incarceration to home

confinement. Essentially, she seeks to invoke the Court’s sentencing authority for relief upon

“compassionate” grounds particularly within the power of the Director of the Bureau of Prisons

pursuant to 18 U.S.C. § 3582(c)(1)(A).

       Without deciding whether this modification was contemplated in Ms. Etters’ waiver of

appeal and collateral attack contained in her plea agreement, this Court declines to modify the

sentence because it lacks authority to do so. “A district court is authorized to modify a

Defendant’s sentence only in specified instances where Congress has expressly granted the court

jurisdiction to do so.” United States v. Blackwell, 81 F.3d 945, 947 (10th Cir. 1996). “Section
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3582(c) provides that a court may not modify a term of imprisonment once it has been imposed

except in three limited circumstances.” United States v. Smartt, 129 F.3d 539, 540 (10th Cir.

1997). The three circumstances include when the Director of the Bureau of Prisons motions the

court in certain extraordinary circumstances or where defendant has reached 70 years of age and

has served at least 30 years in prison, when expressly permitted by statute or by Rule 35, or

when the defendant has been sentenced and the sentencing range subsequently has been lowered.

§ 3582(c). In Ms. Etters’ case, there has been no motion from the Director of the Bureau of

Prisons, and because that requirement has not been met, Ms. Etters is ineligible for a special

circumstances reduction. See Smartt, 129 F.3d at 541. Furthermore, Ms. Etters’ claim does not

fit under any other statute or Rule 35 and the sentencing range has not been lowered. Therefore,

the Motion is denied. See generally United States v. Alvarado-Carrillo, 2003 WL 1909290 (10th

Cir. 2003) (affirming district court’s denial of a post-sentencing downward departure based upon

post-conviction rehabilitation reasons because none of the section 3582(c) exceptions applied).



IT IS THEREFORE ORDERED BY THE COURT that Ms. Etters’ Motion to Modify

Sentence is DENIED.

       IT IS SO ORDERED.

       Dated this 28th day of September, 2007.

                                                   s/ John W. Lungstrum
                                                   John W. Lungstrum
                                                   United States District Judge



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